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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                    :
PRESIDENT, INC., et al.,               : No. 2:20-CV-00966-NR
                                       :
                     Plaintiffs        :
                                       : Judge J. Nicholas Ranjan
      v.                               :
                                       :
KATHY BOOCKVAR, et al.,                : Electronically Filed Document
                                       :
                     Defendants        :

             CERTIFICATION FOR PRO HAC VICE ADMISSION

      Pursuant to Local Rule 83.2 (B), I, Michelle Pokrifka, hereby attest that the

following is true and correct:

      1. I have read, know and understand the Local Rules of Civil Procedure for

           the District of Western Pennsylvania; and

      2. I am a registered user of the ECF for the United States District Court for

           the Western District of Pennsylvania.

                                       Respectfully submitted,

Date: July 9, 2020                     s/ Michélle Pokrifka
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                                       York, PA 17401
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                                  ATTACHMENT - 2
